       Case 1:23-cv-06414-JGK                  Document 25         Filed 07/28/23         Page 1 of 2




                                33 LIBERTY STREET, NEW YORK, NY 10045-0001



 MICHAEL M. BRENNAN
ASSISTANT GENERAL COUNSEL




                                                        July 28, 2023


VIA ECF

Hon. John G. Koeltl
United States District Court
for the Southern District of New York
500 Pearl Street,
New York, NY 10007

       Re:     Banco San Juan Internacional, Inc. v. Federal Reserve Bank of New York,
               No. 23-cv-6414 (JGK)

Dear Judge Koeltl:

        I represent the Federal Reserve Bank of New York (the “New York Fed”) and write in
connection with plaintiff Banco San Juan Internacional, Inc.’s (“BSJI”) motion, by order to show
cause, for a temporary restraining order (“TRO”) and preliminary injunction seeking to prevent
the New York Fed from closing BSJI’s master account on July 31, 2023 (“the Motion”). Dkt.
No. 6. The Court’s Order of July 27, 2023 instructs defendants to respond to the TRO Motion by
today at 10:00 a.m. and contemplates the potential for the parties “reach[ing] an agreement that
would obviate the need for the Court to rule on” that motion. Dkt. No. 24.

        After conferring, such an agreement has been reached and all parties have reviewed and
consented to the submission of this letter. While the New York Fed opposes the relief BSJI
seeks, it has agreed to keep BSJI’s account open through this Court’s resolution of BSJI’s
pending motion for a preliminary injunction, and BSJI has agreed to retain, until further Order of
the Court, a transaction monitor that is subject to New York Fed approval. BSJI will endeavor to
retain this monitor by July 31, 2023 and in any event will do so by no later than August 2, 2023
(with additional agreed upon restrictions to be imposed in any intervening period). The parties
reserve all rights with respect to this agreement and expressly preserve any claims, defenses, and
arguments.




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       Case 1:23-cv-06414-JGK           Document 25       Filed 07/28/23      Page 2 of 2




                                                                              Hon. John G. Koeltl
                                                                                    July 28, 2023
                                                                                                2
       The parties are conferring on a preliminary injunction briefing schedule in an effort to
submit an agreed upon schedule to the Court in the near future.
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                                                 Respectfully submitted,

                                                 /s/ Michael Brennan




cc: Counsel of Record (via ECF)
